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                         IN TH E UNITED STATES DISTRICT COURT

                         FOR TH E SOUTHERN DISTRICT OF TEXAS

                                     GALVESTON DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
VS.                                              §    CRIMINAL NO. G-04-07 (02)
                                                 §    CIVIL ACT ION N O. G-06-588
ROYAL LEE MAYS                                   §

                                     OPINION AND ORDER

       On May 1, 2007, Royal Lee Mays filed a “Request for Certificate of Appealability” in an

apparent effort to appeal from the F inal “Order of Dismissal” of his Section 2255 Motion entered

of record on March 21, 2007.

       A Motion under Section 2255, while an extension of a criminal proceeding, is, nonetheless,

a civil action. Accordingly, an appeal from the denial of the Motion must be filed within thirty days

of the entry of the Final Order. See Fed. R. App. P. 4(a)(1)(A)    The appeal period in Mays’ case

expired on April 19, 2007. Although Mays would be assisted by the “mailbox rule” since he is a

prisoner, his request expressly indicates that it was signed by him on April 24, 2007, five days too

late. Therefore, even if the Court were to construe Mays’ pro se request also as a Notice of Appeal,

Cf. United States v. Orozco, 103 F.3d 389 (5th Cir. 1996), it is untimely.

       Since the Court of Appeals would lack jurisdiction to consider Mays’ attempted appeal,

Slaughter v. Allstate Ins. Co. , 803 F.2d 857 (5th Cir. 1986), it is ORDERED that his “Request for

Certificate of Appealability” (Instrument no. 132) is DENIED.

   DONE at Galveston, Texas, this 14th day of May, 2007.
